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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                        No. 15-61

PAULA JONES                                                   SECTION “E” (2)


                               ORDER AND REASONS

        Before the Court is the Government’s Motion to Exclude Irrelevant and Prejudicial

Evidence Produced by Paula Jones in Reciprocal Discovery. 1 Defendant Paula Jones

objects to the Government’s motion. 2 For the following reasons, the Government’s motion

is GRANTED IN PART and DENIED IN PART.

                                    BACKGROUND

        On November 9, 2016, the Government filed its Motion to Exclude Irrelevant and

Prejudicial Evidence Produced by Paula Jones in Reciprocal Discovery. 3 In its motion, the

Government argues that the documents produced by Defendant Paula Jones in reciprocal

discovery, and any related testimony, regarding Defendant Paula Jones’ breast cancer

diagnosis, mastectomy, treatment and breast reconstruction procedures should be

excluded because such evidence is irrelevant and overly prejudicial. 4 In addition, the

Government argues income records from 7 to 10 years prior to Paula Jones’ charged

conduct, including unsigned tax return documents, W-2 forms and 1099 forms, a

demonstrative chart of Paula Jones’ earnings, and checks purportedly for child care

expenses from May through November of 2003, should be excluded as irrelevant and




1 R. Doc. 844.
2 R. Doc. 857.
3 R. Doc. 844.
4 R. Doc. 844-1, at 1.

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unauthenticated hearsay. 5 Defendant Paula Jones argues the challenged evidence is

relevant, non-prejudicial, and admissible evidence. 6

    I.           Medical Records and Testimony Regarding Defendant Paula Jones’s Cancer
                 Treatment

         On October 21, 2016, pursuant to the Court’s Scheduling Order, 7 Defendant Paula

Jones produced reciprocal discovery. According to the Government, “The bulk of the

evidence consists of medical records” related to Defendant Paula Jones’ June 2011 breast

cancer diagnosis, November 2011 bilateral total mastectomy and immediate bilateral

reconstruction with tissue expanders, and February 2012 completion of post-mastectomy

radiation therapy. 8 The Government maintains evidence of Defendant Paula Jones’ breast

cancer is not relevant to any element of the crimes charged. 9 In addition, the Government

maintains the evidence is irrelevant because it relates to a time period outside of the

charged conspiracy. 10 Further, the Government argues the evidence should be excluded

because the probative value of this evidence is substantially outweighed by the danger of

unfair prejudice. 11 Defendant Paula Jones maintains the evidence is relevant and provides

an explanation and context regarding the changes in her salary during the period of the

charged conspiracy.

         Rule 401 establishes the test for determining whether or not evidence is relevant. 12

Under Rule 401, evidence is relevant if: “(a) it has any tendency to make a fact more or



5 Id. at 3, 9.
6 See    R. Doc. 857. Defendant Paula Jones further contends that the arguments in her opposition be
considered as part of her objections to the Governments Summary Exhibits. See R. Doc. 793. The Court will
address Defendant Paula Jones’ objections to the Governments Summary Exhibits in a separate order.
7 R. Doc. 790.
8 R. Doc. 844-1, at 2.
9 Id. at 5.
10 It is uncontested that Paula Jones did not begin working as a biller at Abide until June or July 2012. See

id. at 3; R. Doc. 857, at 3.
11 R. Doc. 844-1, at 4.
12 FED. R. EVID. 401.

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less probable than it would be without the evidence; and (b) the fact is of consequence in

determining the action.” 13 The Government has made clear that, with respect to

Defendants Paula and Michael Jones, it will present evidence that they engaged in an

illegal kickback scheme whereby Defendant Michael Jones increased the number of his

referrals in return for Abide increasing Paula Jones’ salary beginning in May of 2013. 14

Defendant Paula Jones contends that evidence regarding her diagnosis and treatment of

breast cancer will provide an alternative explanation as to why her salary increased in

May of 2013. 15 As a result, the Court finds evidence related to Defendant Paula Jones’

diagnosis and treatment of her breast cancer is relevant.

           The Government further contends that, even if the Court finds the evidence related

to Defendant Paula Jones’ diagnosis and treatment is relevant, the evidence should be

excluded pursuant to Federal Rule of Evidence 403 because its probative value is

“substantially outweighed by the danger of unfair prejudice.” 16 Rule 403 grants the Court

the ability to exclude evidence that is otherwise relevant “if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issue, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.” 17 The Government argues “breast cancer is an illness

that has affected many people in one way or another and evokes strong emotional

actions,” which may cause jury nullification. 18 The Court finds, however, that the

probative value of this evidence outweighs the danger of unfair prejudice.




13 Id.
14 See, e.g. R. Doc. 814, at 8.
15 R. Doc. 857, at 5.
16 R. Doc. 844-1, at 6.
17 Id. at 403.
18 R. Doc. 844-1, at 6-7.

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          Because the evidence of Defendant Paula Jones’ diagnosis and treatment of breast

cancer is relevant and its probative value is not outweighed by the danger of unfair

prejudice, the Government’s motion is denied in that Paula Jones will be allowed to testify

as to her diagnosis and treatment for breast cancer. For the same reasons, Paula Jones

will be allowed to testify regarding other circumstances, including her marriage, birth of

children and return to school, which led to her receiving a lower salary from 2006 to May

of 2013.

          The Court grants the Government’s motion to the extent it seeks to preclude the

introduction of all medical records. The fact that Defendant Paula Jones was diagnosed

with and treated for breast cancer is not contested and the Court finds these records are

cumulative as they are not needed to prove that she had cancer and received treatment.

Any probative value of these records is outweighed by the risk of unfair prejudice and the

likelihood that their introduction would cause needless delay. In the event the

Government attempts to prove that Defendant Paula Jones did not have breast cancer or

she did not undergo treatment, Defendant Paula Jones may request that the Court revisit

this ruling.

    II.      Tax Returns, W-2 and 1099 Forms, Demonstrative Chart of Earnings, and
             Caregiver Checks Produced by Paula Jones 19

          In its motion, the Government also seeks to exclude other evidence produced by

Paula Jones, namely: tax returns, W-2 forms and 1099 forms, a demonstrative chart of

earnings and caregiver checks. 20




19 The documents objected to are attached to the Government’s motion as Exhibits C, D and E. See R. Docs.

844-5, 844-6, and 844-7.
20 R. Doc. 844-1, at 9-10.

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        First, the Government seeks the exclusion of Paula Jones’ tax returns, W-2 forms

and 1099 forms from 2002, 2003, 2004 and 2005. 21 The Government argues her income

from multiple health agencies 7 to 10 years prior to the charged conduct has no bearing

on whether she committed the charged offenses and is not relevant to her 2012-2013

Abide salary. 22 Further the Government argues the tax returns provided by Defendant

Paula Jones have no probative value because they are unsigned copies. 23 The Government

maintains that even if the records are authenticated by Paula Jones, the records should

be excluded as impermissible hearsay because they are self-serving statements made by

declarant, offered for their truth that Paula Jones earned the wages listed on the returns. 24

In her opposition, Defendant Paula Jones states, “In view of the objections as to the

unsigned tax returns, undersigned counsel will attempt to eliminate this issue through

obtaining the official IRS transcripts for Paula Jones.” 25 On October 28, 2016, the Court

granted a joint motion to continue this trial until April 10, 2017. 26 In light of this

continuance, the Court assumes the Defendant will obtain, and subsequently disclose to

the Government, the official tax records which will render the Government’s motion moot

insofar as it is based on lack of authentication. With respect to the Government’s

contention that Defendant’s previous income is not relevant, for the reasons already

discussed above, the Court finds evidence regarding the Defendant’s salary through May

2013 is relevant to the Defendant’s explanation why her salary increased in May 2013. As




21 See R. Doc. 844-5.
22 R. Doc. 844-1, at 9.
23 Id. (citing Selgas v. C.I.R., 475 F.3d 697, 700 (5th Cir. 2007)).
24 Id. at 10 (citing United States v. Austin, 774 F.2d 99, 101 (5th Cir. 1985); United States v. Ivory, 875 F.2d

868 (6th Cir. 1989)).
25 R. Doc. 857, at 4 n.2.
26 R. Doc. 828.

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a result, the Government’s motion with respect to the exclusion of Defendant’s tax

records, W-2 forms and 1099 forms is denied.

           Next, the Government objects to a demonstrative chart 27 prepared and provided

by Paula Jones summarizing her salaries, by employer, from 2002, 2003, 2004 and

2005. 28 The Government argues this demonstrative exhibit is irrelevant for the same

reasons as it argues the underlying W-2 forms, discussed above, are irrelevant. 29 As

explained above, assuming the Defendant is able to obtain her official tax records, she will

be allowed to use this demonstrative in the presentation of her defense.

           Last, the Government argues Defendant Paula Jones should be precluded from

introducing evidence of caregiver expenses because they are “irrelevant and carry the risk

of evoking improper emotion and sympathy from the jury.” 30 The Government argues

that the fact Paula Jones paid for child care in 2013 “has no connection to whether or not

she committed health care fraud or received kickbacks.” 31 Defendant Paula Jones argues

that she began paying for childcare costs at the same time she took on the additional

employment responsibilities and received the raise associated with her promotion to

“lead biller” in May of 2013. 32 The Court finds that the Defendant’s testimony that her

salary increase was a result of her increased work responsibilities, which also resulted in

an increase in her childcare expenses due to the fact that she was required to spend more

time at work, is relevant. The Defendant may testify regarding her childcare expenses and

introduce evidence substantiating those expenses assuming she is able to properly

authenticate the checks at issue.


27 R. Doc. 844-6.
28 R. Doc. 844-1, at 10.
29 See id.
30 Id.
31 Id.
32 R. Doc. 857, at 5.

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                                   CONCLUSION

        Accordingly;

        IT IS ORDERED that the Government’s Motion to Exclude Irrelevant and

Prejudicial Evidence Produced by Paula Jones in Reciprocal Discovery 33 is GRANTED

IN PART and DENIED IN PART. Defendant Paula Jones will not be allowed to

introduce any medical records related to her diagnosis or treatment of breast cancer.

Defendant Paula Jones may, however, testify regarding the circumstances, including her

marriage, birth of children, education and cancer diagnosis and medical treatment, which

had an impact on her salary during the time period between 2006 and May of 2013.

Further, assuming Defendant Jones has obtained her official tax records, she may

introduce copies of her tax returns, w-2 forms and 1099 forms from 2003, 2004, 2005

and 2006 and may use the demonstrative exhibit showing her salary during this time. In

addition, so long as Defendant Paula Jones is able to properly authenticate the checks,

she may testify and introduce evidence demonstrating the increase in her childcare

expenses resulting from her increased work responsibilities beginning in May of 2013.

        New Orleans, Louisiana, this 12th day of January, 2017.

                                        _____________________ _______
                                                SUSIE MORGAN
                                        UNITED STATES DISTRICT JUDGE




33 R. Doc. 844.

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